                 Case 2:15-cv-01297-RSM Document 16 Filed 01/07/16 Page 1 of 2




 1

 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9    AMAZON.COM, INC., a Delaware                     Case No. 2:15-cv-01297 RSM
      corporation,
10                                                     ORDER RE PERMANENT INJUNCTION
             Plaintiff,
                                                       AGAINST DEFENDANTS
11
      v.
12
      JOSH CARLUCCI, a Florida resident;
13    BRENT SCHILLAGE, a Florida resident;
      NEXGEN BIOLABS, INC., a Florida
14    corporation; SKINGENIXX, INC., a Florida
      corporation; and GX8 CAPITAL, INC., a
15    Florida corporation,

16           Defendants.
17

18          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:
19                                  FINDINGS AND CONCLUSIONS
20          1.       This is an action brought by Amazon.com, Inc. (“Amazon”) against Defendants,
21   in which Amazon alleges that Defendants manipulated and/or falsified reviews of Defendants’
22   products sold on the Amazon platform.
23          2.       The Court has original subject matter jurisdiction over this action under 28 U.S.C.
24   §§ 1331 and 1338. Venue is proper in this Court under 28 U.S.C. § 1391(b) and (c).
25          3.       The parties have resolved this lawsuit and, without any admission of liability,
26   have stipulated to entry of the following permanent injunction against Defendants.
27


     [PROPOSED] PERMANENT INJUNCTION
     (CASE NO. 2:15-cv-1297 RSM) - 1
                 Case 2:15-cv-01297-RSM Document 16 Filed 01/07/16 Page 2 of 2




 1                                             INJUNCTION

 2          1.       Defendants, and their officers, agents, servants, employees, assigns, and all those

 3   in active concert or participation with any of them who receive actual notice of this injunction by

 4   personal service or otherwise, shall immediately cease and refrain from engaging in any of the

 5   following activities, and cease and refrain from assisting, aiding, or abetting any other person or

 6   entity in engaging in or performing any of the following activities:

 7                   (a)    selling products on any of Amazon’s websites;

 8                   (b)    opening any Amazon accounts;

 9                   (c)    using Amazon’s services in connection with the marketing or sale of any

10                          products or services.

11          2.       Defendants will provide notice (which may be via email or paper) to their (future)

12   wholesale or bulk customers, vendors, employees and agents that none of Defendants’ products

13   or services may be sold on any of Amazon’s websites. Upon becoming aware of a violation of

14   this restriction, Defendants provide notice to Amazon (by providing all pertinent information)

15   and will discontinue working with (i.e., selling product to, or engaging in a contractual

16   relationship with) any such person or company that violates this restriction.

17                                  RETENTION OF JURISDICTION

18          IT IS FURTHER ORDERED that the Court will retain jurisdiction of this action for

19   purposes of construing, modifying, and enforcing this Permanent Injunction.

20

21          DATED this 7th day of January 2016.

22

23

24                                                  A
                                                    RICARDO S. MARTINEZ
25                                                  UNITED STATES DISTRICT JUDGE

26
27


     [PROPOSED] PERMANENT INJUNCTION
     (CASE NO. 2:15-cv-1297 RSM) - 2
